Case 1:18-cr-00681-NGG Document 462 Filed 06/08/23 Page 1 of 5 PageID #: 14299


    FORD
    O'BRIEN
    LANDY~,
                                                                             June 8, 2023



VIA ECF
The Honorable Nicholas G. Garaufis
United States District Judge
U.S. District Court for the Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

        Re:      United States v. Boustani, Case No. 18-cr-681 Letter Motion for Conference

Dear Judge Garaufis:

       We write on behalf of Defendant Manuel Chang. We write under the Court’s Individual
Rule VI. A. to request permission to move to dismiss the indictment because the Prosecution’s
delay of Mr. Chang’s trial has violated his right to a speedy trial under the Sixth Amendment. 1

        In 2018, Mr. Chang was indicted and the Prosecution arranged for his arrest in South
Africa. Since then, he has been incarcerated in South Africa in appalling conditions, including
solitary confinement. Yet he is no closer to trial than he was when he was indicted in 2018.
Although the Prosecution requested Mr. Chang’s extradition over four years ago, it has lost
interest in seeking his extradition since 2019, when a jury acquitted Mr. Chang’s co-defendant,
Jean Boustani, on all charges. This deprivation of Mr. Chang’s liberty has violated the Sixth
Amendment to the United States Constitution.

              Mr. Chang Has Spent Years in Solitary Confinement in South Africa

        Mr. Chang was the Minister of Finance for Mozambique from 2005 to 2015. On
December 29, 2018, Mr. Chang was traveling from Mozambique to the United Arab Emirates,
with a layover in South Africa. He had a return flight back from the United Arab Emirates
booked for January 2, 2019, but he has not made it out of South Africa.

        On December 19, 2018, Mr. Chang was indicted in the Eastern District of New York.
Two days later, the U.S. Department of Justice wrote a letter to the government of the Republic
of South Africa requesting Mr. Chang’s arrest during his layover. Mr. Chang was then arrested
at the O. R. Tambo International Airport in Johannesburg at the Prosecution’s request.


1
 We also understand that Mr. Chang's co-defendant Naji Allam has filed a letter moving for a pre-motion
conference to dismiss the indictment on similar grounds. We agree with Mr. Allam's assessment that his
circumstance and Mr. Chang's are substantially similar, though they differ in certain aspects, and dismissal is
warranted against both Mr. Chang and Mr. Allam. Further, like counsel for Mr. Allam, we have conferred with the
Prosecution to advise them of our submission.
Case 1:18-cr-00681-NGG Document 462 Filed 06/08/23 Page 2 of 5 PageID #: 14300

    Hon. Nicholas G. Garaufis, U.S.D.J.                                                                      2 of 5
    Case No. 18-cr-681

         The government of Mozambique subsequently indicted Mr. Chang and, in February
2019, also requested his extradition to Mozambique. These competing requests to extradite Mr.
Chang trapped him in a Kafkaesque labyrinth of never-ending administrative and court
proceedings that continue to this day. We understand from Mr. Chang’s counsel in South Africa
that, even after over four years have passed since his arrest, the government of South Africa has
still not completed the process of extraditing Mr. Chang or provided a date by when Mr. Chang
can expect an end to this ordeal.

        Meanwhile, the wheels of justice have turned more rapidly in the United States. Mr.
Chang’s co-defendant, Jean Boustani, was tried in 2019, and on December 2, 2019, a jury
acquitted him on all counts. Mr. Chang is confident that, if he were ever tried in the United
States, a jury would reach a similar result. As he has maintained throughout this process, the
charges against him are meritless. As the trial as revealed, the Prosecution is not only unable to
prove the merits of the charges for which Mr. Chang has been indicted and detained, but also
unable to even show that venue is proper in this district.

        Perhaps in recognition of these deficiencies in its case, the Prosecution has lost all
interest in Mr. Chang since Mr. Boustani’s exoneration. To the knowledge of Mr. Chang’s
counsel in South Africa, the Prosecution has not made any filings in support of its attempt to
extradite Mr. Chang since its defeat in the 2019 trial of Mr. Boustani.

         Mr. Chang, however, has been seeking to end this quagmire as soon as possible. On
September 10, 2021, Mr. Chang filed a notice of intention to abide, which is a South African
court document expressing Mr. Chang’s consent to follow any decision that the courts make with
respect to his extradition. Then, on August 24, 2022, Mr. Chang explicitly represented in a court
filing that he consented to his extradition to either the United States or Mozambique, and
emphatically requested an expeditious end to this protracted litigation. 2

       Mr. Chang has been detained in dire conditions while the judicial and administrative
systems in South Africa proceed at this glacial pace. 3 We understand from Mr. Chang’s counsel
in South Africa that Mr. Chang has spent the substantial majority of the time since his arrest
under solitary confinement. He has had limited contact with his own family and can only speak
to them through a glass partition. The South African government has also failed to meet Mr.
Chang’s medical needs. He has an injured knee, but he has been unable to receive physical
therapy during his detention. Moreover, the South African authorities have failed to provide Mr.
Chang with a low sodium diet, even though he has high blood pressure.
2
 Neither any of these filings in South Africa, nor this letter, should be construed as any a waiver of any other
challenge to the indictment. To the contrary, were the indictment not dismissed on speedy trial courts, Mr. Chang is
prepared to mount a full challenge to any allegations against him.
3
  Unfortunately, such lengthy pretrial detention is common in South Africa. As the United States State Department
reported in its 2018 Human Rights Report, the South African judicial system is overburdened and "[l]engthy pretrial
detention was common." State Department, South Africa 2018 Human Rights Report, available at
https://www.state.gov/wp-content/uploads/2019/03/South-Africa-2018.pdf. Almost a third of inmates in South
Africa were pretrial detainees who were awaiting their day in court. Id.




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Case 1:18-cr-00681-NGG Document 462 Filed 06/08/23 Page 3 of 5 PageID #: 14301

 Hon. Nicholas G. Garaufis, U.S.D.J.                                                               3 of 5
 Case No. 18-cr-681


        The Prosecution’s Delay in Trying Mr. Chang Violates the Sixth Amendment

          The Sixth Amendment to the United States Constitution guarantees the right to a speedy
trial. Courts have developed a two-part inquiry to evaluate claims that a delay in trial violates
this right. As a threshold matter, courts look to whether the delay between accusation and
trial is so long as to be presumptively prejudicial. Doggett v. United States, 505 U.S. 647, 652
(1992). A delay of one year is presumptively prejudicial. Id. at n.1. Provided the delay is
presumptively prejudicial, courts then consider four factors, called the Barker factors, to
determine if dismissal of the indictment is warranted: the length of the delay; the reason for the
delay; the defendant’s assertion of the right to a speedy trial; and the prejudice to the defendant.
Barker v. Wingo, 407 U.S. 514, 530-31 (1972).

       Mr. Chang was arrested in December 2018, yet he has still not been tried. This delay is
well over a year and is easily presumed prejudicial. Further, all four Barker factors weigh
strongly in favor of dismissal of the indictment.

         The length of the delay. “[T]he presumption that pretrial delay has prejudiced the
accused intensifies over time.” Doggett, 505 U.S. at 652. Mr. Chang was indicted in 2018 but
has still not even been extradited, let alone tried. The Prosecution cannot contend that the
complexity of the case against Mr. Chang warrants this delay, as it was able to complete the trial
against Mr. Boustani – Mr. Chang’s alleged co-conspirator – over three years ago.

        The reason for the delay. “A defendant has no duty to bring himself to trial[.]” Barker,
407 U.S. at 527. Rather, the government has an obligation to bring a case to trial swiftly, and
delays resulting from deliberate prosecutorial attempts to delay trial, from prosecutorial
negligence, and even from overcrowded courts all count against the prosecution. Id. at 531. See
also Strunk v. United States, 412 U.S. 434, 436 (1973) (“delays caused by overcrowded court
dockets or understaffed prosecutors” count against the government in assessing a speedy trial
claim); United States v. Black, 918 F.3d 243, 260 (2d Cir. 2019) (delays resulting from
protracted litigation are attributable to the government); United States v. Tigano, 880 F.3d 602,
614-16 (2d Cir. 2018) (administrative delays, delays resulting from inadequate coordination
among judges, and delays resulting from a court’s failure to prioritize a criminal defendant’s
prosecution are all attributable to the government). The prosecutorial duty to bring a case to trial
quickly applies with full force where the defendant is outside of the United States. See United
States v. Leaver, 358 F. Supp. 2d 255, 271 (S.D.N.Y. 2004) (dismissing an indictment where the
government “wait[ed] passively for chance to deliver [the defendant] into its hands” rather than
face the “difficulties involved in pursuing and extraditing [a] relatively unimportant accused …
.”).

       The delay in Mr. Chang’s trial lays at the feet of the Prosecution. The Prosecution
deliberately chose to request Mr. Chang’s extradition when he was in South Africa because of a
layover in an international flight. By choosing South Africa as the forum for Mr. Chang’s arrest
and extradition, the Prosecution assumed the risk that the inefficiencies of the South African
administrative and judicial systems would impair Mr. Chang’s right to a speedy trial. The


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Case 1:18-cr-00681-NGG Document 462 Filed 06/08/23 Page 4 of 5 PageID #: 14302

 Hon. Nicholas G. Garaufis, U.S.D.J.                                                                       4 of 5
 Case No. 18-cr-681

Prosecution cannot claim that the dilatory treatment of Mr. Chang’s extradition in South Africa
took it by surprise, since it was on notice that lengthy pretrial detention was common in South
Africa. See State Department, South Africa 2018 Human Rights Report, available at
https://www.state.gov/wp-content/uploads/2019/03/South-Africa-2018.pdf (observing that
lengthy pretrial delay is common and the courts are overburdened in South Africa).

        The Prosecution is particularly blameworthy here, where it appears to have lost interest in
Mr. Chang’s extradition and trial after its defeat at the 2019 trial of Mr. Boustani. To the
knowledge of Mr. Chang’s South African counsel, the Prosecution has not made any filings in
the protracted litigation in South Africa over Mr. Chang’s extradition since this 2019 trial. If the
Prosecution has lost interest in trying Mr. Chang, it should dismiss the charges against him, not
allow him to languish in solitary confinement in South Africa.

        Mr. Chang’s assertion of the right to a speedy trial. Although Mr. Chang denies all
charges against him, he has been eager for an expeditious end to this protected litigation. Mr.
Chang asserted his right to a speedy trial in South Africa and even informed the South African
judiciary two years ago that he would abide by whatever decision the South African courts make
about where to extradite him, just to bring the extradition proceedings to an end.

         The prejudice to Mr. Chang. Courts identify at least three interests that the speedy trial
right is designed to protect: “(i) to prevent oppressive pretrial incarceration; (ii) to minimize
anxiety and concern of the accused; and (iii) to limit the possibility that the defense will be
impaired,” including because of memory loss by potential witnesses. Barker, 407 U.S. at
532. Mr. Chang has suffered from all three of these forms of prejudice here. As noted above, he
has spent years in solitary confinement and without proper medical care. He has spent these
years living under the anxiety resulting from being under indictment. The lost time has impaired
his defense, including because memories of the relevant events have likely faded during Mr.
Chang’s detention. The risk of fading witness memory is particularly acute here, where the bulk
of the allegations relevant to Mr. Chang in the operative indictment relate to events that allegedly
occurred approximately a decade ago.

                                                         ***

        In light of the foregoing, we respectfully request that the Court schedule a pre-motion
conference to provide Mr. Chang with the opportunity to vindicate his right to a speedy trial. In
the alternative, we respectfully request that the Court enter a briefing schedule for a motion to
dismiss the indictment without scheduling a pre-motion conference. We appreciate the
opportunity to address these matters at further length with Your Honor.

                                                                                 Respectfully submitted,


                                                                                 s/ Adam Ford
                                                                                 Adam Ford



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Case 1:18-cr-00681-NGG Document 462 Filed 06/08/23 Page 5 of 5 PageID #: 14303

 Hon. Nicholas G. Garaufis, U.S.D.J.                                                              5 of 5
 Case No. 18-cr-681


Cc: All Counsel of Record (via ECF)




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